                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DAREL ADELSBERGER AND
ANNETTE ADELSBERGER                                                              PLAINTIFFS

v.                               CASE NO.: 4:21-CV-00471

UNION PACIFIC RAILROAD COMPANY                                                  DEFENDANT


                         UNION PACIFIC’S MOTIONS IN LIMINE

     Comes now the Defendant, Union Pacific Railroad, and for its Motions in Limine, states:

        1.     In accordance with the Court’s Scheduling Order, Union Pacific moves to exclude

evidence that Plaintiffs, their attorneys, and their witnesses should be prohibited from

introducing or otherwise mentioning in front of the jury.

        2.     The arguments supporting Union Pacific’s Motions in Limine are set forth in the

accompanying brief.

        WHEREFORE, as more fully explained in the accompanying brief, Defendant, Union

Pacific Railroad Company, prays that the Court enter an Order granting its Motions in Limine.


                                             Respectfully submitted,

                                             Scott Tucker, #87176
                                             Jamie Huffman Jones, #2003125
                                             FRIDAY, ELDREDEGE & Clark, LLP
                                             400 West Capitol Avenue, Suite 2000
                                             Little Rock, AR 72201
                                             501-370-1430 – phone
                                             501-244-5347 – fax
                                             jjones@fridayfirm.com
                                             tucker@fridayfirm.com

                                             Attorneys for Union Pacific




                                                1
